          Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 1 of 36

                                                                         CLERK OF SUPERIOR COURT
                                                                         MCINTOSH COUNTY, GEORGIA
                                           McIntosh                      SUV2021000021
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                02-19-2021                            SUV2021000021




Moore, Darian                             Nova Logistics, Inc.


                                          Cartagena, Michel


                                          Protective Insurance Company




                 Williams, Mr. Nathan T                  142417
Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 2 of 36
Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 3 of 36
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Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 7 of 36
           SUPERIOR COURT
Case 2:21-cv-00028-LGW-BWC  OF MCINTOSH
                           Document           COUNTYPage
                                    1-2 Filed 03/29/21    8 ofOF36
                                                       CLERK     SUPERIOR COURT
                                                                                          MCINTOSH COUNTY, GEORGIA
                                 STATE OF GEORGIA
                                                                                          SUV2021000021
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                      CIVIL ACTION NUMBER SUV2021000021
   Moore, Darian

   PLAINTIFF
                                               VS.
   Nova Logistics, Inc.
   Cartagena, Michel
   Protective Insurance Company

   DEFENDANTS


                                            SUMMONS
   TO: CARTAGENA, MICHEL

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Nathan T Williams
                             Williams Litigation Group, PC
                             PO Box 279
                             Brunswick , Georgia 31521-0279

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If this action pertains to a Protective
   Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
   If you fail to do so, judgment by default will be taken against you for the relief demanded in
   the complaint.

   This 19th day of February, 2021.
                                                     Clerk of Superior Court




                                                                                         Page 1 of 1
           SUPERIOR COURT
Case 2:21-cv-00028-LGW-BWC  OF MCINTOSH
                           Document           COUNTYPage
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                                                       CLERK     SUPERIOR COURT
                                                                                          MCINTOSH COUNTY, GEORGIA
                                 STATE OF GEORGIA
                                                                                          SUV2021000021
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                      CIVIL ACTION NUMBER SUV2021000021
   Moore, Darian

   PLAINTIFF
                                               VS.
   Nova Logistics, Inc.
   Cartagena, Michel
   Protective Insurance Company

   DEFENDANTS


                                            SUMMONS
   TO: NOVA LOGISTICS, INC.

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Nathan T Williams
                             Williams Litigation Group, PC
                             PO Box 279
                             Brunswick , Georgia 31521-0279

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If this action pertains to a Protective
   Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
   If you fail to do so, judgment by default will be taken against you for the relief demanded in
   the complaint.

   This 19th day of February, 2021.
                                                     Clerk of Superior Court




                                                                                         Page 1 of 1
           SUPERIOR COURT
Case 2:21-cv-00028-LGW-BWC   OF MCINTOSH
                           Document            COUNTY
                                    1-2 Filed 03/29/21 Page 10 of
                                                          CLERK OF36
                                                                  SUPERIOR COURT
                                                                                          MCINTOSH COUNTY, GEORGIA
                                 STATE OF GEORGIA
                                                                                          SUV2021000021
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                      CIVIL ACTION NUMBER SUV2021000021
   Moore, Darian

   PLAINTIFF
                                               VS.
   Nova Logistics, Inc.
   Cartagena, Michel
   Protective Insurance Company

   DEFENDANTS


                               SUMMONS
   TO: PROTECTIVE INSURANCE COMPANY

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiff's attorney, whose name and address is:

                             Nathan T Williams
                             Williams Litigation Group, PC
                             PO Box 279
                             Brunswick , Georgia 31521-0279

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If this action pertains to a Protective
   Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
   If you fail to do so, judgment by default will be taken against you for the relief demanded in
   the complaint.

   This 19th day of February, 2021.
                                                     Clerk of Superior Court




                                                                                         Page 1 of 1
Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 11 of 36

                                                                              CLERK OF SUPERIOR COURT
                                                                              MCINTOSH COUNTY, GEORGIA
                                                                              SUV2021000021
             IN THE SUPERIOR COURT OF McINTOSH COUNTY
                                                      FEB 19, 2021 11:33 AM
                          STATE OF GEORGIA
    DARIAN MOORE,

         Plaintiff,

    v.                                           Case No.: _______________

    NOVA LOGISTICS, INC.,
    MICHEL CARTAGENA and
    PROTECTIVE INSURANCE,

         Defendant.
     _________________________________________________________
                      CERTIFICATE OF SERVICE PURSUANT TO
                       UNIFORM SUPERIOR COURT RULE 5.2

      Plaintiff files this Certificate in compliance with Uniform Superior Court Rule
  5.2 as follows:
          • Plaintiff’s First Interrogatories to Defendant Nova Logistics,
             Inc.;
          • Plaintiff’s First Request for Production of Documents to
             Defendant Nova Logistics, Inc.;
          • Plaintiff’s First     Interrogatories      to      Defendant    Michel
             Cartagena;
          • Plaintiff’s First Request for Production of Documents to
             Defendant Michel Cartagena;.
     The foregoing was served on the Defendant with a copy of the Complaint and
  Summons via Sheriff’s Department.

     Respectfully submitted, this 19th day of February, 2021.


                                                      /s/Nathan T. Williams
                                                      Nathan T. Williams
                                                      Georgia Bar No. 142417
                                                      Attorney for Plaintiff
  THE WILLIAMS LITIGATION GROUP, P.C.
  Post Office Box 279
  Brunswick, Georgia 31521-0279
  912-208-3721
  912-264-6299 facsimile
Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 12 of 36




                                          /s/ J. Alan Welch
                                          J. Alan Welch
                                          Georgia Bar No.: 747405
                                          Attorney for Plaintiff
  2225 Gloucester Street
  Brunswick, Georgia 31520
  Phone: 912-265-9811
  Fax: 912-265-7780
  jalanwelchlaw@bellsouth.net
Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 13 of 36

                                                            CLERK OF SUPERIOR COURT
                                                            MCINTOSH COUNTY, GEORGIA
                                                            SUV2021000021
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       Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 14 of 36

                                                                                  CLERK OF SUPERIOR COURT
                                                                                  MCINTOSH COUNTY, GEORGIA
                                                                                  SUV2021000021
                  IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                               STATE OF GEORGIA                                    MAR 17,, 2021
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 DARIAN MOORE,                                 )
                                               )
                        Plaintiff,             )
                                               )
 vs.                                           )
                                               )
                                                 Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL                  )
 CARTAGENA and PROTECTIVE                      )
 INSURANCE COMPANY                             )
                                               )
                        Defendants.            )

                           ACKNOWLEDGEMENT OF SERVICE

         NOW COME NOVA LOGISTICS, INC. and MICHEL CARTAGENA (hereinafter

“Defendants”), named defendants herein, by and through their undersigned counsel, and hereby

acknowledge receipt of the Summons and Complaint. All defenses as to lack of service of process

and insufficiency of process of service of process as to Defendants are waived, while all other

defenses otherwise available to Defendants in this action are reserved. Defendants acknowledge

that they will have thirty (30) days after the date of the signature of the Acknowledgement of

Service to file their Answer or otherwise respond to Plaintiff’s Complaint for Damages.

          This 17th day of March 2021.

                                           HUNTER, MACLEAN, EXLEY & DUNN, P.C.


                                           /s/TAYLOR L. DOVE
                                           Bradley M. Harmon
                                           Georgia Bar No. 327097
 200 East Saint Julian Street              Taylor L. Dove
 Post Office Box 9848                      Georgia Bar No. 993210
 Savannah, Georgia 31412-0048              Attorney for Defendants
 Telephone: 912.236.0261
 Facsimile: 912.236.4936
 Email: BHarmon@HunterMaclean.com
 Email: TDove@HunterMaclean.com
       Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 15 of 36




                    IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                                 STATE OF GEORGIA


 DARIAN MOORE,                                  )
                                                )
                        Plaintiff,              )
                                                )
 vs.                                            )
                                                )
                                                         Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL                   )
 CARTAGENA and PROTECTIVE                       )
 INSURANCE COMPANY,                             )
                                                )
                        Defendants.             )


                                 CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing

ACKNOWLEDGEMENT OF SERVICE upon all counsel of record in this matter via U.S. Mail

and/or the Court’s electronic filing system which will deliver a copy to the following:


 Nathan T. Williams                                 J. Alan Welch
 The William Litigation Group, P.C.                 2225 Gloucester Street
 P.O. Box 279                                       Brunswick, GA 31520
 Brunswick, GA 31521

          Respectfully submitted this 17th day of March 2021.

                                               HUNTER, MACLEAN, EXLEY & DUNN, P.C.

                                               /s/ Taylor L. Dove
                                               Taylor L. Dove
                                               Georgia Bar No. 993210
                                               Attorney for Defendants

 Post Office Box 9848
 Savannah, GA 31412-0048
 (912) 236-0261 -Tel.
 (912) 236-4936 - Fax
 tdove@huntermaclean.com



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4850-8414-0001 v1
       Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 16 of 36

                                                                                      CLERK OF SUPERIOR COURT
                                                                                      MCINTOSH COUNTY, GEORGIA
                                                                                      SUV2021000021
                    IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                                 STATE OF GEORGIA                                      MAR 26,
                                                                                            6, 2021
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 DARIAN MOORE,                                   )
                                                 )
          PLAINTIFF,                             )
                                                 )
 vs.                                             )
                                                 )
                                                     Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL                    )
 CARTAGENA and PROTECTIVE                        )
 INSURANCE COMPANY,                              )
                                                 )
          DEFENDANTS.                            )

         ANSWER OF DEFENDANT PROTECTIVE INSURANCE COMPANY TO
                        PLAINTIFF’S COMPLAINT

         NOW COMES Protective Insurance Company (“Defendant”), defendant in the above-

styled action, and file this its Answer to the Complaint filed by Plaintiff Darian Moore (hereinafter

“Plaintiff”) as follows:

                                        FIRST DEFENSE

         Plaintiff fails to state a claim upon which relief may be granted and the Complaint should

be dismissed.

                                       SECOND DEFENSE

         Plaintiff’s Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person, improper venue, insufficiency of process and service of

process, and failure to join all persons needed for just adjudication.

                                        THIRD DEFENSE

         Plaintiff’s claims may be barred by the doctrine of sudden emergency or act of God.

                                       FOURTH DEFENSE

         Plaintiff’s damages, if any, were caused by the intervening or supervening act of another

person or entity.
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 17 of 36




                                        FIFTH DEFENSE

        Plaintiff’s claims may be barred by the statute of limitations.

                                        SIXTH DEFENSE

        Plaintiff’s claims may be barred, in whole or in part, by Plaintiff’s failure to mitigate such

damages.

                                      SEVENTH DEFENSE

        Defendant raises each and every affirmative defense which is required to be set forth in

Defendant’s pleadings pursuant to O.C.G.A. § 9-11-8(c), reserving unto itself the right to amend

the pleading to set forth with specificity the basis for such defenses which may appear appropriate

as a result of the evidence and legal principles involved which show the same to be applicable.

Defendant has insufficient knowledge and information upon which to form a belief as to whether

it may have additional, as yet unstated, separate defenses available. Defendant reserves the right

to assert further defenses in the event that they determine that such defenses are appropriate.

                                       EIGHTH DEFENSE

        Subject to and without waiving the defenses asserted above, Defendant responds to the

specific enumerated paragraphs of the Plaintiff’s Complaint as follows:

                                                  1.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 1 of the Plaintiff’s Complaint.

                                                  2.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 2 of the Plaintiff’s Complaint.

                                                  3.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of


                                                  2
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    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 18 of 36




the allegations contained in Paragraph 3 of the Plaintiff’s Complaint.

                                                 4.

        Defendant admits that it issued a liability policy to Nova Logistics, Inc. (Policy No.

MD139) that was in effect at the time of the incident complained of. Defendant further admits that

it is subject to the jurisdiction and venue of this court. Defendant denies any remaining allegations

contained in Paragraph 4 of the Plaintiff’s Complaint.

                                                 5.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 5 of the Plaintiff’s Complaint.

                                  GENERAL ALLEGATIONS

                                                 6.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 6 of the Plaintiff’s Complaint.

                                                 7.

        Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s Complaint.

                                                 8.

        Defendant admits the allegations contained in Paragraph 8 of Plaintiff’s Complaint.

                                                 9.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 9 of the Plaintiff’s Complaint.

                                                10.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 10 of the Plaintiff’s Complaint.




                                                 3
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    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 19 of 36




                                                11.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 11 of the Plaintiff’s Complaint.

                                                12.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 12 of the Plaintiff’s Complaint.

                                                13.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 13 of the Plaintiff’s Complaint.

                                                14.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 14 of the Plaintiff’s Complaint.

                                                15.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 15 of the Plaintiff’s Complaint.

                                                16.

        Defendant admits the allegations contained in Paragraph 16 of the Plaintiff’s Complaint.

                                                17.

        Defendant denies the allegations contained in Paragraph 17 of the Plaintiff’s Complaint.

                                      CAUSE OF ACTION

                          Count I – Negligence and Negligence Per Se

                                                18.

        Defendant admits the allegations contained in Paragraph 18 of Plaintiff’s Complaint.




                                                 4
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    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 20 of 36




                                                19.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 19 of the Plaintiff’s Complaint.

                                                20.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 20 of the Plaintiff’s Complaint.

                                                21.

        Defendant denies the allegations contained in Paragraph 21 of Plaintiff’s Complaint.

                                  Count II – Punitive Damages

                                                22.

        Defendant denies the allegations contained in Paragraph 22 of Plaintiff’s Complaint.

                                Count III – Respondeat Superior

                                                23.

        Defendant denies the allegations contained in Paragraph 23 of Plaintiff’s Complaint,

including all subparagraphs.

      Count IV – Third Party Contract Beneficiary Claims Against Defendant General
                                       Insurance

                                                24.

        Defendant denies the allegations contained in Paragraph 24 of Plaintiff’s Complaint.

                                           DAMAGES

                                                25.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 25 of the Plaintiff’s Complaint.

                                                26.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

                                                 5
4829-5499-3632 v1
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 21 of 36




the allegations contained in Paragraph 26 of the Plaintiff’s Complaint.

                                                      27.

        Defendant denies the allegations contained in Paragraph 27 of the Plaintiff’s Complaint.

                                             NINTH DEFENSE

        To the extent the Plaintiff’s Complaint contains any allegations not responded to

hereinabove, those allegations are hereby denied, including the entirety of the Plaintiff’s Prayer

for Relief.

        WHEREFORE, having fully responded, Defendant respectfully requests as follows:

        a)          That Plaintiff’s Complaint be dismissed with prejudice and that all of Plaintiff’s

                    claims be denied;

        b)          That all costs in this action be cast against Plaintiff;

        c)          That this Honorable Court award any and all such further relief as it deems just and

                    proper.

         Respectfully submitted this 26th day of March 2021.

                                              HUNTER, MACLEAN, EXLEY & DUNN, P.C.


                                              /s/Taylor L. Dove
                                              Taylor L. Dove
                                              Georgia Bar No. 993210
                                              Bradley M. Harmon
                                              Georgia Bar No. 327097
                                              Attorneys for Defendant Protective Insurance Company
 200 East Saint Julian Street
 Post Office Box 9848
 Savannah, Georgia 31412-0048
 Telephone: 912.236.0261
 Facsimile: 912.236.4936
 Email: tdove@huntermaclean.com
 Email: bharmon@huntermaclean.com




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4829-5499-3632 v1
       Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 22 of 36




                    IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                                 STATE OF GEORGIA

 DARIAN MOORE,                                  )
                                                )
          PLAINTIFF,                            )
                                                )
 vs.                                            )
                                                )   Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL
                                                )
 CARTAGENA and PROTECTIVE
                                                )
 INSURANCE COMPANY,
                                                )
          DEFENDANTS.                           )
                                                )

                                   CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing ANSWER

OF DEFENDANT PROTECTIVE INSURANCE COMPANY TO PLAINTIFF’S

COMPLAINT upon all parties to this matter by depositing a true copy of same in the U.S. Mail,

proper postage prepaid, properly addressed and by using the CM/ECF system which will send a

notice of electronic filing to the following:

               Nathan T. Williams                                  J. Alan Welch
        The Williams Litigation Group, P.C.                     J. Alan Welch Law
                  P.O. Box 279                                 2225 Gloucester Street
             Brunswick, GA 31521                               Brunswick, GA 31520


         Respectfully submitted this 26th day of March 2021.

                                          HUNTER, MACLEAN, EXLEY & DUNN, P.C.

                                          /s/Taylor L. Dove
                                          Taylor L. Dove
                                          Georgia Bar No. 993210
                                          Attorney for Defendant Protective Insurance Company

 Post Office Box 9848
 Savannah, Georgia 31412-0048
 Telephone: 912.236.0261
 Email: tdove@huntermaclean.com



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       Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 23 of 36

                                                                                     CLERK OF SUPERIOR COURT
                                                                                     MCINTOSH COUNTY, GEORGIA
                                                                                     SUV2021000021
                    IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                                 STATE OF GEORGIA                                     MAR 26,
                                                                                           6, 2021
                                                                                               0 09:53
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 DARIAN MOORE,                                   )
                                                 )
          PLAINTIFF,                             )
                                                 )
 vs.                                             )
                                                 )
                                                     Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL                    )
 CARTAGENA and PROTECTIVE                        )
 INSURANCE COMPANY,                              )
                                                 )
          DEFENDANTS.                            )

          ANSWER OF DEFENDANT NOVA LOGISTICS, INC. TO PLAINTIFF’S
                              COMPLAINT

         NOW COMES Nova Logistics, Inc. (“Defendant”), defendant in the above-styled action,

and file this its Answer to the Complaint filed by Plaintiff Darian Moore (hereinafter “Plaintiff”)

as follows:

                                        FIRST DEFENSE

         Plaintiff fails to state a claim upon which relief may be granted and the Complaint should

be dismissed.

                                       SECOND DEFENSE

         Plaintiff’s Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person, improper venue, insufficiency of process and service of

process, and failure to join all persons needed for just adjudication.

                                        THIRD DEFENSE

         Plaintiff’s claims may be barred by the doctrine of sudden emergency or act of God.

                                       FOURTH DEFENSE

         Plaintiff’s damages, if any, were caused by the intervening or supervening act of another

person or entity.
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 24 of 36




                                        FIFTH DEFENSE

        Plaintiff’s claims may be barred by the statute of limitations.

                                        SIXTH DEFENSE

        Plaintiff’s claims may be barred, in whole or in part, by Plaintiff’s failure to mitigate such

damages.

                                      SEVENTH DEFENSE

        Defendant raises each and every affirmative defense which is required to be set forth in

Defendant’s pleadings pursuant to O.C.G.A. § 9-11-8(c), reserving unto itself the right to amend

the pleading to set forth with specificity the basis for such defenses which may appear appropriate

as a result of the evidence and legal principles involved which show the same to be applicable.

Defendant has insufficient knowledge and information upon which to form a belief as to whether

it may have additional, as yet unstated, separate defenses available. Defendant reserves the right

to assert further defenses in the event that they determine that such defenses are appropriate.

                                       EIGHTH DEFENSE

        Subject to and without waiving the defenses asserted above, Defendant responds to the

specific enumerated paragraphs of the Plaintiff’s Complaint as follows:

                                                  1.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 1 of the Plaintiff’s Complaint.

                                                  2.

        Defendant admits the allegations contained in Paragraph 2 of Plaintiff’s Complaint.

                                                  3.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 3 of the Plaintiff’s Complaint.


                                                  2
4815-7043-5809 v1
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 25 of 36




                                                 4.

        Defendant admits that it holds a liability insurance policy (Policy No. MD00013919) with

Protective Insurance Company. Defendant is without sufficient knowledge or information to form

a belief as to the truth of the remaining allegations contained in Paragraph 4 of the Plaintiff’s

Complaint.

                                                 5.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 5 of the Plaintiff’s Complaint.

                                  GENERAL ALLEGATIONS

                                                 6.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 6 of the Plaintiff’s Complaint.

                                                 7.

        Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s Complaint.

                                                 8.

        Defendant admits the allegations contained in Paragraph 8 of Plaintiff’s Complaint.

                                                 9.

        Defendant admits the allegations contained in Paragraph 9 of Plaintiff’s Complaint.

                                                10.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 10 of the Plaintiff’s Complaint.

                                                11.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 11 of the Plaintiff’s Complaint.


                                                 3
4815-7043-5809 v1
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 26 of 36




                                                12.

        Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s Complaint.

                                                13.

        Defendant denies the allegations contained in Paragraph 13 of Plaintiff’s Complaint.

                                                14.

        Defendant denies the allegations contained in Paragraph 14 of Plaintiff’s Complaint.

                                                15.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 15 of the Plaintiff’s Complaint.

                                                16.

        Defendant admits the allegations contained in Paragraph 16 of Plaintiff’s Complaint.

                                                17.

        Defendant denies the allegations contained in Paragraph 17 of the Plaintiff’s Complaint.

                                      CAUSE OF ACTION

                          Count I – Negligence and Negligence Per Se

                                                18.

        Defendant admits the allegations contained in Paragraph 18 of Plaintiff’s Complaint.

                                                19.

        Defendant denies the allegations contained in Paragraph 19 of Plaintiff’s Complaint.

                                                20.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 20 of the Plaintiff’s Complaint.

                                                21.

        Defendant denies the allegations contained in Paragraph 21 of Plaintiff’s Complaint.


                                                 4
4815-7043-5809 v1
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 27 of 36




                                  Count II – Punitive Damages

                                                22.

        Defendant denies the allegations contained in Paragraph 22 of Plaintiff’s Complaint.

                                Count III – Respondeat Superior

                                                23.

        Defendant denies the allegations contained in Paragraph 23 of Plaintiff’s Complaint,

including all subparagraphs.

      Count IV – Third Party Contract Beneficiary Claims Against Defendant General
                                       Insurance

                                                24.

        Defendant denies the allegations contained in Paragraph 24 of Plaintiff’s Complaint.

                                           DAMAGES

                                                25.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 25 of the Plaintiff’s Complaint.

                                                26.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 26 of the Plaintiff’s Complaint.

                                                27.

        Defendant denies the allegations contained in Paragraph 27 of the Plaintiff’s Complaint.




                                                 5
4815-7043-5809 v1
    Case 2:21-cv-00028-LGW-BWC Document 1-2 Filed 03/29/21 Page 28 of 36




                                             NINTH DEFENSE

        To the extent the Plaintiff’s Complaint contains any allegations not responded to

hereinabove, those allegations are hereby denied, including the entirety of the Plaintiff’s Prayer

for Relief.

        WHEREFORE, having fully responded, Defendant respectfully requests as follows:

        a)          That Plaintiff’s Complaint be dismissed with prejudice and that all of Plaintiff’s

                    claims be denied;

        b)          That all costs in this action be cast against Plaintiff;

        c)          That this Honorable Court award any and all such further relief as it deems just and

                    proper.

         Respectfully submitted this 26th day of March 2021.

                                              HUNTER, MACLEAN, EXLEY & DUNN, P.C.


                                              /s/Taylor L. Dove
                                              Taylor L. Dove
                                              Georgia Bar No. 993210
                                              Bradley M. Harmon
                                              Georgia Bar No. 327097
                                              Attorneys for Defendant Nova Logistics, Inc.
 200 East Saint Julian Street
 Post Office Box 9848
 Savannah, Georgia 31412-0048
 Telephone: 912.236.0261
 Facsimile: 912.236.4936
 Email: tdove@huntermaclean.com
 Email: bharmon@huntermaclean.com




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                    IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                                 STATE OF GEORGIA

 DARIAN MOORE,                                 )
                                               )
          PLAINTIFF,                           )
                                               )
 vs.                                           )
                                               )   Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL
                                               )
 CARTAGENA and PROTECTIVE
                                               )
 INSURANCE COMPANY,
                                               )
          DEFENDANTS.                          )
                                               )

                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing ANSWER

OF DEFENDANT NOVA LOGISTICS, INC. TO PLAINTIFF’S COMPLAINT upon all

parties to this matter by depositing a true copy of same in the U.S. Mail, proper postage prepaid,

properly addressed and by using the CM/ECF system which will send a notice of electronic filing

to the following:

               Nathan T. Williams                                  J. Alan Welch
        The Williams Litigation Group, P.C.                     J. Alan Welch Law
                  P.O. Box 279                                 2225 Gloucester Street
             Brunswick, GA 31521                               Brunswick, GA 31520


         Respectfully submitted this 26th day of March 2021.

                                        HUNTER, MACLEAN, EXLEY & DUNN, P.C.

                                        /s/Taylor L. Dove
                                        Taylor L. Dove
                                        Georgia Bar No. 993210
                                        Attorney for Defendant Nova Logistics, Inc.

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                                                                                     CLERK OF SUPERIOR COURT
                                                                                     MCINTOSH COUNTY, GEORGIA
                                                                                     SUV2021000021
                    IN THE SUPERIOR COURT OF MCINTOSH COUNTY
                                 STATE OF GEORGIA                                     MAR 26,
                                                                                           6, 2021
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                                                                                                   09 5 AM


 DARIAN MOORE,                                   )
                                                 )
           PLAINTIFF,                            )
                                                 )
 vs.                                             )
                                                 )
                                                     Civil Action No.: SUV2021000021
 NOVA LOGISTICS, INC., MICHEL                    )
 CARTAGENA and PROTECTIVE                        )
 INSURANCE COMPANY,                              )
                                                 )
           DEFENDANTS.                           )

           ANSWER OF DEFENDANT MICHEL CARTAGENA TO PLAINTIFF’S
                               COMPLAINT

         NOW COMES Michel Cartagena (“Defendant”), defendant in the above-styled action, and

file this his Answer to the Complaint filed by Plaintiff Darian Moore (hereinafter “Plaintiff”) as

follows:

                                        FIRST DEFENSE

         Plaintiff fails to state a claim upon which relief may be granted and the Complaint should

be dismissed.

                                       SECOND DEFENSE

         Plaintiff’s Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person, improper venue, insufficiency of process and service of

process, and failure to join all persons needed for just adjudication.

                                        THIRD DEFENSE

         Plaintiff’s claims may be barred by the doctrine of sudden emergency or act of God.

                                       FOURTH DEFENSE

         Plaintiff’s damages, if any, were caused by the intervening or supervening act of another

person or entity.
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                                        FIFTH DEFENSE

        Plaintiff’s claims may be barred by the statute of limitations.

                                        SIXTH DEFENSE

        Plaintiff’s claims may be barred, in whole or in part, by Plaintiff’s failure to mitigate such

damages.

                                      SEVENTH DEFENSE

        Defendant raises each and every affirmative defense which is required to be set forth in

Defendant’s pleadings pursuant to O.C.G.A. § 9-11-8(c), reserving unto himself the right to amend

the pleading to set forth with specificity the basis for such defenses which may appear appropriate

as a result of the evidence and legal principles involved which show the same to be applicable.

Defendant has insufficient knowledge and information upon which to form a belief as to whether

it may have additional, as yet unstated, separate defenses available. Defendant reserves the right

to assert further defenses in the event that they determine that such defenses are appropriate.

                                       EIGHTH DEFENSE

        Subject to and without waiving the defenses asserted above, Defendant responds to the

specific enumerated paragraphs of the Plaintiff’s Complaint as follows:

                                                  1.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 1 of the Plaintiff’s Complaint.

                                                  2.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 2 of the Plaintiff’s Complaint.

                                                  3.

        Defendant admits the allegations contained in Paragraph 3 of Plaintiff’s Complaint.


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                                                 4.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 4 of the Plaintiff’s Complaint.

                                                 5.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 5 of the Plaintiff’s Complaint.

                                  GENERAL ALLEGATIONS

                                                 6.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 6 of the Plaintiff’s Complaint.

                                                 7.

        Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s Complaint.

                                                 8.

        Defendant admits the allegations contained in Paragraph 8 of Plaintiff’s Complaint.

                                                 9.

        Defendant admits the allegations contained in Paragraph 9 of Plaintiff’s Complaint.

                                                10.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 10 of the Plaintiff’s Complaint.

                                                11.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 11 of the Plaintiff’s Complaint.

                                                12.

        Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s Complaint.


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                                                13.

        Defendant denies the allegations contained in Paragraph 13 of Plaintiff’s Complaint.

                                                14.

        Defendant denies the allegations contained in Paragraph 14 of Plaintiff’s Complaint.

                                                15.

        Defendant denies the allegations contained in Paragraph 15 of Plaintiff’s Complaint.

                                                16.

        Defendant admits that he received a citation, but denies that he was driving under the

influence.

                                                17.

        Defendant denies the allegations contained in Paragraph 17 of the Plaintiff’s Complaint.

                                      CAUSE OF ACTION

                          Count I – Negligence and Negligence Per Se

                                                18.

        Defendant admits the allegations contained in Paragraph 18 of Plaintiff’s Complaint.

                                                19.

        Defendant denies the allegations contained in Paragraph 19 of Plaintiff’s Complaint.

                                                20.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 20 of the Plaintiff’s Complaint.

                                                21.

        Defendant denies the allegations contained in Paragraph 21 of Plaintiff’s Complaint.




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                                  Count II – Punitive Damages

                                                22.

        Defendant denies the allegations contained in Paragraph 22 of Plaintiff’s Complaint.

                                Count III – Respondeat Superior

                                                23.

        Defendant denies the allegations contained in Paragraph 23 of Plaintiff’s Complaint,

including all subparagraphs.

      Count IV – Third Party Contract Beneficiary Claims Against Defendant General
                                       Insurance

                                                24.

        Defendant denies the allegations contained in Paragraph 24 of Plaintiff’s Complaint.

                                           DAMAGES

                                                25.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 25 of the Plaintiff’s Complaint.

                                                26.

        Defendant is without sufficient knowledge or information to form a belief as to the truth of

the allegations contained in Paragraph 26 of the Plaintiff’s Complaint.

                                                27.

        Defendant denies the allegations contained in Paragraph 27 of the Plaintiff’s Complaint.

                                       NINTH DEFENSE

        To the extent the Plaintiff’s Complaint contains any allegations not responded to

hereinabove, those allegations are hereby denied, including the entirety of the Plaintiff’s Prayer

for Relief.



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        WHEREFORE, having fully responded, Defendant respectfully requests as follows:

        a)          That Plaintiff’s Complaint be dismissed with prejudice and that all of Plaintiff’s

                    claims be denied;

        b)          That all costs in this action be cast against Plaintiff;

        c)          That this Honorable Court award any and all such further relief as it deems just and

                    proper.

         Respectfully submitted this 26th day of March 2021.

                                              HUNTER, MACLEAN, EXLEY & DUNN, P.C.


                                              /s/Taylor L. Dove
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                                              Georgia Bar No. 993210
                                              Bradley M. Harmon
                                              Georgia Bar No. 327097
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                                        /s/Taylor L. Dove
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                                        Georgia Bar No. 993210
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